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                              UNITED STATES COURT OF APPEALS
                                   FOR THE SIXTH CIRCUIT
                                    100 EAST FIFTH STREET, ROOM 540
   Kelly L. Stephens               POTTER STEWART U.S. COURTHOUSE                  Tel. (513) 564-7000
         Clerk                         CINCINNATI, OHIO 45202-3988                www.ca6.uscourts.gov


                                                     Filed: December 26, 2024


Ms. Sarah Buntura
4390 Southwick Boulevard
Brunswick, OH 44212

                       Re: Case No. 24-4099, Sarah Buntura v. Ford Motor Company, et al
                           Originating Case No. : 1:24-cv-01811

Dear Madam,

   This appeal has been docketed as case number 24-4099 with the caption that is enclosed on a
separate page. Please review the caption for accuracy and notify the Clerk's office if any
corrections should be made. The appellate case number and caption must appear on all filings
submitted to the Court.

   As the appellant, when you submit motions, briefs or any other documents to the Clerk's
office, send only 1 original, which you have signed. Copies are no longer necessary. Do not
staple, paper clip, tab or bind pro se motions or briefs sent to the Clerk's office -- these
documents are scanned and staples etc. create paper jams. You must mail opposing counsel
a copy of every document you send to the Clerk's office for filing.

   Opposing counsel will docket pleadings as an ECF filer. Check the ECF page on the court's
web site www.ca6.uscourts.gov for additional information about ECF filing if you are not
familiar with it. The following case opening items are due by January 27, 2025. The
Disclosure of Corporate Affiliations is now an automated entry. Filers may still use the form
6CA-1 located on the Court's website if the automated entry does not provide sufficient space.

                       Appellee:     Appearance of Counsel
                                     Disclosure of Corporate Affiliation
                                     Application for Admission to 6th Circuit Bar (if applicable)

    The district court has denied or revoked your pauper status. You have until January 27,
2025 to either pay the full $605.00 appeal filing fee to the U.S. District Court, or to file a motion
in the Sixth Circuit Court of Appeals to waive the filing fee, with a financial affidavit and a copy
of your prison trust account statement for the last six months (if applicable). Failure to do one
or the other will result in the dismissal of the appeal without further notice.
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   The Clerk's office cannot give you legal advice but if you have questions, please contact the
office for assistance.

                                                 Sincerely yours,

                                                 s/Ryan E. Orme
                                                 Case Manager
                                                 Direct Dial No. 513-564-7079


Enclosure
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            OFFICIAL COURT OF APPEALS CAPTION FOR 24-4099




SARAH BUNTURA

         Plaintiff - Appellant

v.

FORD MOTOR COMPANY; S2 VERIFY, LLC

         Defendants - Appellees
